     Case 1:22-cv-00515-JMB-RSK ECF No. 1, PageID.1 Filed 06/08/22 Page 1 of 6




                       UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

VANESSA SHORT, an                                          FILE NO.: 22-cv-
individual
             Plaintiff,                                    HON.:

v.

PEDCOR MANAGEMENT CORPORATION, a
corporation
            Defendant.

 WILLIAM F. PIPER, PLC
 William F. Piper (P38636)
 Attorney for Plaintiff
 1611 W. Centre Street, Ste. 209
 Portage, MI 49024
 (269) 321-5008
 (269) 321-5009 (facsimile)
 wpiper@wpiperlaw.com

                                    COMPLAINT

         The plaintiff, Vanessa Short, by and through her attorney William F. Piper,

PLC, for her complaint, states as follows:

                         JURISDICTIONAL ALLEGATIONS

       1)      The plaintiff Vanessa Short is an is a single white woman with two

African American sons who currently is homeless and who is generally living out of

her car in Kalamazoo County.

        2)     The defendant Pedcor Management Corporation is, upon information

and belief, an Indiana Corporation doing business in the County of Berrien, State of

Michigan, at all times relevant to this complaint.
 Case 1:22-cv-00515-JMB-RSK ECF No. 1, PageID.2 Filed 06/08/22 Page 2 of 6




      3)     The plaintiff is an aggrieved person as defined by 42 U.S.C. § 3607,

because the defendant discriminated and retaliated against her because of her

African American children, her marital status and her complaints about

discrimination.

      4)     This action is brought under the Fair Housing Act, which is Title VIII

of the Civil Rights Act of 1978, as amended by the Fair Housing Act of 1988, 42

U.S.C. § 3601 et seq.

      5)     This court has jurisdiction under 28 U.S.C. § 1331, 28 U.S.C. § 1345,

42 U.S.C. 3613, and it has authority to grant declaratory and injunctive relief

under Fed. R. Civ. P. 57, 28 U.S.C. § 2201, and 28 U.S.C. § 2202.

      6)     Certain claims in this lawsuit are brought under this court’s

supplemental jurisdiction to hear and decide state law claims arising out of the

same transactions and occurrences as the federal law claims.

                                COMMON ALLEGATIONS

      7)     The plaintiff restates and realleges as though fully set forth herein

      paragraphs 1-6 of this complaint.

      8)     The plaintiff became a tenant in an apartment on the premises of

Berrien Woods Apartments, which is owned or managed by both the defendant,

upon information and belief, in June 2019.

      9)     In approximately May 2021 the defendant's property manager Denise

Martins arrived at Ms. Short’s apartment unit when she was not there and

discovered Ms. Short's late-teenaged African-American son, her son's African
                                          2
 Case 1:22-cv-00515-JMB-RSK ECF No. 1, PageID.3 Filed 06/08/22 Page 3 of 6




American friend, and her son's dog, in the unit.

      10)   Ms. Martins and another person entered the unit and started taking
photographs.

      11)    Thereafter, Ms. Short did not receive renewal paperwork that was sent

to other residents.

      12)    In June 2021 Ms. Martin’s called Ms. Short and told her she had seen

her son speeding through the parking lot.

      13)    Ms. Martins indicated that she knew it was Ms. Short’s son because he

is African American, and the people in the car were African American.

      14)    Later in June 2021, Ms. Martins told Ms. Short that the defendant

would not renew her lease because of numerous lease violations.

      15)    Ms. Short then called the defendant’s corporate headquarters.

      16)    In the call to the corporate headquarters Ms. Short complained about

race discrimination, referencing Ms. Martins’ comment about Ms. Short’s African

American son speeding in the parking lot.

      17)    Ms. Short also complained that her lease was not going to be renewed,

asserting that was not justified, because she had not violated her lease.

      18)    The corporate representative assured Ms. Martins that she could

renew her lease, as she had no major lease violations.

      19)    Ms. Short, however, decided that she would move out when her lease

ended in August, because she felt discriminated against and not welcomed.

      20)    Ms. Short then applied for tenancies at other rental complexes, but, to

                                            3
 Case 1:22-cv-00515-JMB-RSK ECF No. 1, PageID.4 Filed 06/08/22 Page 4 of 6




her surprise and dismay, she kept getting rejected.

      21)    One of the complexes that rejected her was Winchell Way.

      22)    Winchell Way informed Ms. Short that it had denied her application

for a tenancy because of the information it had received from her prior landlord.

      23)    The form that the defendant sent to Winchell Way contained a number

of false statements, including that it had evicted her, that she had numerous lease

violations, and she was behind in her rent.

      24)    On December 9, 2021 Ms. Short called Ms. Martins to complain about

the retaliatory recommendation.

      25)    Ms. Martins told Ms. Short that she should not have left her son at

home, and it really sucks to be a single parent.

      26)    As a result of the discrimination and retaliation set forth above, Ms.

Short has suffered and will continue to suffer damages, including as follows:

      A)     Being homeless and living in her car since August 2021;

      B)     Having to give up custody of her younger son to his father;

      C)     Excessive wear and tear to her car, and gas expenses;

      D)     Damage to her health from shivering and sleeping in cold weather.

      E)     Emotional distress;

      F)     A loss of enjoyment of life.

      G)     Moving expenses;

      H)     Other compensatory damages.


                                            4
 Case 1:22-cv-00515-JMB-RSK ECF No. 1, PageID.5 Filed 06/08/22 Page 5 of 6




             COUNT I - VIOLATIONS OF THE FAIR HOUSING ACT

      27)    The plaintiff restates and realleges as though fully set forth herein

paragraphs 1-26 of this complaint.

      28)    The defendant discriminated against Ms. Short because of her

association with her African-American son and because of her single marital status

by telling her it would not renew her lease, and by making critical statements about

her African-American son and her single marital status.

      29)    The defendant retaliated against Ms. Short for complaining to the

defendant about discrimination by providing false information or references to other

landlords.

      30)    The defendant's conduct set forth above violated 42 U.S.C. § 3604(a),

42 U.S.C. 3606(b), and 42 U.S.C. § 3604(d).

      31)    As a result of the discrimination and retaliation set forth above, the

plaintiff has suffered and will continue to suffer the damages set forth above.

      WHEREFORE, the plaintiff requests a judgment and order against the

defendant declaring the defendant’s unlawful conduct unlawful; enjoining further

discriminatory and retaliatory conduct; awarding the plaintiff compensation for the

damages and injuries she has suffered and will continue to suffer in the future; and

awarding the plaintiff interest, costs, attorney’s fees and any other relief this Court

deems fair and just.

               COUNT II – ELLIOTT-LARSEN CIVIL RIGHTS ACT

      32.    The plaintiff restates and realleges as though fully set forth herein
                                          5
 Case 1:22-cv-00515-JMB-RSK ECF No. 1, PageID.6 Filed 06/08/22 Page 6 of 6




paragraphs 1-31 of this complaint.

      33.    The discrimination and retaliation set forth above violate various

sections of the Elliott-Larsen Civil Rights Act, including Article 5, Section 502, and

Article 7, Section 701 (MCL 37.2502 and MCL 37.2701).

      WHEREFORE, the plaintiff requests a judgment and order against the

defendant declaring the defendant’s unlawful conduct unlawful; enjoining further

discriminatory and retaliatory conduct; awarding the plaintiff compensation for the

damages and injuries she has suffered and will continue to suffer in the future; and

awarding the plaintiff interest, costs, attorney’s fees and any other relief this Court

deems fair and just.


Dated: June 8, 2022                            William F. Piper, PLC.
                                               Attorney for Plaintiff


                                        By:  /s/William F. Piper
                                             William F. Piper (P38636)
                                        BUSINESS ADDRESS:
                                             1611 W. Centre Ave., Suite 209
                                             Portage, MI 49024
                                             (269) 321-5008




                                           6
